               Case 2:13-cr-00053-JAM Document 15 Filed 03/28/13 Page 1 of 3


 1   Michael E. Hansen [SBN 191737]
     Attorney at Law
 2   711 Ninth Street, Suite 100
     Sacramento, CA 95814
 3   916.438.7711 FAX 916.864.1359
 4   Attorney for Defendant
     JOSE ANAYA
 5
 6
 7                         IN THE UNITED STATES DISTRICT COURT
 8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                          No. 2:13-CR-00053 MCE
11                                 Plaintiff,           STIPULATION AND ORDER TO
                                                        CONTINUE STATUS CONFERENCE,
12          vs.                                         AND TO EXCLUDE TIME PURSUANT
                                                        TO THE SPEEDY TRIAL ACT
13   OMAR VERA, et al.,
14                                 Defendants.
15
16          IT IS HEREBY STIPULATED by and between the parties hereto through their
17   respective counsel, Jason Hitt, Assistant United States Attorney, attorney for plaintiff; Michael
18   Petrik, Jr., attorney for defendant Omar Vera; Kyle Knapp, attorney for defendant Jose
19   Castellon; Michael Hansen, attorney for defendant Jose Anaya; and Ronald Peters, attorney for
20   defendant Eduardo Reyes, that the previously-scheduled status conference date of March 28,
21   2013, be vacated and the matter set for status conference on July 11, 2013, at 9:00 a.m.
22          This continuance is requested to allow counsel additional time to review discovery with
23   the defendants, to examine possible defenses and to continue investigating the facts of the case.
24          The Government concurs with this request.
25          Further, the parties agree and stipulate the ends of justice served by the granting of such
26   a continuance outweigh the best interests of the public and the defendants in a speedy trial and
27   that time within which the trial of this case must be commenced under the Speedy Trial Act
28   should therefore be excluded under 18 U.S.C. section 3161(h)(7)(B)(iv), corresponding to


                                                    1
               Case 2:13-cr-00053-JAM Document 15 Filed 03/28/13 Page 2 of 3


 1   Local Code T-4 (to allow defense counsel time to prepare), from the date of the parties’
 2   stipulation, March 25, 2013, to and including July 11, 2013.
 3          Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
 4          IT IS SO STIPULATED.
 5   Dated: March 25, 2013                                 Respectfully submitted,
 6                                                         /s/ Michael E. Hansen
                                                           MICHAEL E. HANSEN
 7                                                         Attorney for Defendant
                                                           JOSE ANAYA
 8
     Dated: March 25, 2013                                 DANIEL J. BRODERICK
 9                                                         Federal Defender
10                                                         By: /s/ Michael E. Hansen for
                                                           MICHAEL PETRIK, JR.
11                                                         Attorney for Defendant
                                                           OMAR VERA
12
     Dated: March 25, 2013                                 /s/ Michael E. Hansen for
13                                                         KYLE KNAPP
                                                           Attorney for Defendant
14                                                         JOSE CATELLON
15   Dated: March 25, 2013                                 /s/ Michael E. Hansen for
                                                           RONALD PETERS
16                                                         Attorney for Defendant
                                                           EDUARDO REYES
17
     Dated: March 25, 2013                                 BENJAMIN B. WAGNER
18                                                         United States Attorney
19                                                         By: /s/ Michael E. Hansen for
                                                           JASON HITT
20                                                         Assistant U.S. Attorney
                                                           Attorney for Plaintiff
21
22
23                                               ORDER
24          The Court, having received, read, and considered the stipulation of the parties, and
25   good cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order.
26   Based on the stipulation of the parties and the recitation of facts contained therein, the Court
27   finds that it is unreasonable to expect adequate preparation for pretrial proceedings and trial
28   itself within the time limits established in 18 U.S.C. section 3161. In addition, the Court


                                                     2
               Case 2:13-cr-00053-JAM Document 15 Filed 03/28/13 Page 3 of 3


 1   specifically finds that the failure to grant a continuance in this case would deny defense
 2   counsel to this stipulation reasonable time necessary for effective preparation, taking into
 3   account the exercise of due diligence. The Court finds that the ends of justice to be served by
 4   granting the requested continuance outweigh the best interests of the public and the defendants
 5   in a speedy trial.
 6           The Court orders that the time from the date of the parties’ stipulation, March 25, 2012,
 7   to and including July 11, 2013, shall be excluded from computation of time within which the
 8   trial of this case must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C. section
 9   3161(h)(7)(B)(iv), and Local Code T4 (reasonable time for defense counsel to prepare). It is
10   further ordered that the March 28, 2013, status conference shall be continued until July 11,
11   2013, at 9:00 a.m.
12           IT IS SO ORDERED.
13   DATED: March 27, 2013
14
15
16                                              __________________________________________
                                                MORRISON C. ENGLAND, JR., CHIEF JUDGE
17                                              UNITED STATES DISTRICT JUDGE
18
19
20
21
22
23
24
25
26
27
28


                                                     3
